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    Exhibit 376
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                                        Susman Godfrey l.l.p.
                                         a registered limited liability partnership
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                                                       __________
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        __________                                        __________                                   __________

                        Stephen Shackelford, Jr.
                                                                                      E-Mail SShackelford@susmangodfrey.com
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          July 13, 2021


          Re:       OAN’s Continued and Knowingly False Coverage of Dominion

          Dear Mr. Rhodes:

                  I write on behalf of my client Dominion1 to insist yet again that OAN stop
          its false and outrageous reporting about Dominion. Far from “chest-thumping
          denials,” Dominion has sent numerous detailed letters debunking OAN’s lies,
          beginning with Dominion’s December 18, 2020 retraction demand. Yet OAN has
          persisted in its false reporting and refused to apologize or retract its defamatory
          statements. This has caused extraordinary and irreparable harm to Dominion. OAN
          must immediately retract its defamatory statements in full and issue an immediate
          on-air and written apology.

                  OAN’s latest letter suggests that OAN has not been on notice of the falsity
          of its statements. On the contrary, OAN knew—or at minimum recklessly
          disregarded—that its statements were false. To date, Dominion has sent nine
          retraction demands to OAN; this is its tenth. Those letters detailed the mountain
          of evidence debunking OAN’s lies, which was also publicly available and widely
          reported.

                 In addition to the evidence raised in Dominion’s earlier letters, more
          evidence continues to surface demonstrating OAN’s reckless disregard of the truth.
          For example, OAN’s own Christina Bobb has been moonlighting as a Trump
          campaign adviser actively working to overturn the 2020 election—a fact that OAN




          1
           “Dominion” refers to US Dominion Inc. and its subsidiaries, Dominion Voting Systems, Inc. and
          Dominion Voting Systems Corporation.
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hid from its viewers for almost two months—while Bobb, along with others at
OAN, spread lies about Dominion and the election generally. 2 In addition:

        •    On June 24, 2020, Rudy Giuliani’s law license was suspended in New
             York after he “communicated demonstrably false and misleading
             statements to courts, lawmakers and the public at large.” 3 On July 7,
             2021, his law license was likewise suspended in Washington, DC. 4

        •    On June 23, 2021, the Republican-led Michigan Senate Oversight
             Committee released a 55-page report, which stated that “The Committee
             found no evidence of widespread or systemic fraud in Michigan’s
             prosecution of the 2020 election.” 5

        •    On June 27, 2021, evidence emerged that former Attorney General Bill
             Barr had “received two briefings from cybersecurity experts at the
             Department of Homeland Security and the FBI,” after which he and his
             team at the Department of Justice “realized from the beginning it was
             just bullshit.” Barr further disclosed that “even if the machines
             somehow changed the count, it would show up when they were
             recounted by hand” and that Dominion’s machines were just “counting
             machine[s], and they save everything that was counted. So you just




2
  Arizona Senate Releases Emails Related to ‘Audit’ to American Oversight, Am. Oversight (June
4, 20201), https://www.americanoversight.org/arizona-senate-releases-emails-related-to-election-
audit-to-american-oversight.
3
  See Per Curiam Opinion, In the Matter of Rudolph W. Giuliani, an Attorney, Motion No. 2021-
00491,      Case      No.      2021-00506       (June    24,      2021),      available    at
https://www.nycourts.gov/courts/ad1/calendar/List_Word/2021/06_Jun/24/PDF/Matter%20of%20
Giuliani%20(2021-00506)%20PC.pdf; Jim Mustian, New York Court suspends Rudy Giuliani’s
Law License, AP News (June 24, 2021), https://apnews.com/article/rudy-giuliani-new-york-law-
license-suspended-c67f4504a22f8642d6096f29e3a5c51e
4
 Rachel Weiner, Rudy Giuliani suspended from practicing law in D.C. court, Wash. Post (July 7,
2021),                  https://www.washingtonpost.com/local/legal-issues/giuliani-washington-
court/2021/07/07/9f7a7f5c-df6a-11eb-9f54-7eee10b5fcd2_story.html.
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 MICH. SENATE OVERSIGHT COMMITTEE, REPORT ON THE NOVEMBER 2020 ELECTION IN MICHIGAN,
https://misenategopcdn.s3.us-east-
1.amazonaws.com/99/doccuments/20210623/SMPO_2020ElectionReport.pdf; David Eggert,
Michigan Senate GOP probe: No systemic fraud in election, ABC NEWS (June 23, 2021),
https://abcnews.go.com/Politics/wireStory/michigan-senate-gop-probe-systemic-fraud-election-
78445547; Clara Hendrickson & Dave Boucher, Michigan Republican-led investigation rejects
Trump’s claim that Nov. 3 election was stolen, DETROIT FREE PRESS (June 23, 2021),
https://www.freep.com/story/news/politics/elections/2021/06/23/michigan-senate-investigation-
election-trump/5035244001/.
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             reconcile the two. There had been no discrepancy reported anywhere,
             and I’m still not aware of any discrepancy.” 6

        This is just a sample of the mountain of evidence debunking OAN’s
continued lies. Yet OAN spouted more lies about Dominion most recently and
perhaps most egregiously in its June 23 and June 29, 2021 broadcasts. On June 23,
2021, OAN broadcast a segment by presenter Pearson Sharp in which Sharp
claimed that the 2020 election was “actually overthrown” and that those responsible
for doing so, like Dominion, should face “execution” for committing treason. 7

        As if that were not enough, on June 29, 2021, OAN hosted MyPillow
founder, CEO, and spokesperson Mike Lindell to predictably spread yet more lies
about Dominion. In the segment, Lindell announced a “cyber symposium” in
August at which he would present “non-subjective evidence” that votes were
“flipped” at the “Dominion level.” OAN introduced Lindell as the one who
“continues to lead the charge in exposing election fraud,” and during the segment
ran the chyron, “Lindell Announces Cyber Symposium Exposing Election Fraud
Evidence.” 8

        Although OAN cannot undo the damage it has done to Dominion or the
enormous risk OAN has already created, this is OAN’s opportunity to help curb
some of the damage by retracting its defamatory statements in full and issuing an
on-air and written apology.

Sincerely,




Stephen Shackelford, Jr.




6
  Jonathan D. Karl, Inside William Barr’s Breakup with Trump, THE ATLANTIC (June 27, 2021),
https://www.theatlantic.com/politics/archive/2021/06/william-barrs-trump-administration-
attorney-general/619298/.
7
  Justin Baragona, OAN Goes Full Fascist, Calls for Mass Executions Over ‘Election Fraud,’ Daily
Beast (Jun. 24, 2021), https://www.thedailybeast.com/oan-goes-full-fascist-pearson-sharp-calls-
for-mass-executions-over-election-fraud; OAN, OAN Reports with Pearson Sharp, DAILY BEAST
(June 23, 2021), available at https://www.thedailybeast.com/oan-goes-full-fascist-pearson-sharp-
calls-for-mass-executions-over-election-fraud?jwsource=cl.
8
  OAN, MyPillow CEO Mike Lindell announces details of upcoming cyber symposium, RUMBLE
(June 29, 2021), available at https://rumble.com/vj9ddv-mypillow-ceo-mike-lindell-announces-
details-of-upcoming-cyber-symposium.html.
